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PMC/cm USAO#2020R00924

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               * CRIMINAL NO. _________________
                                                                     JMC-21-086
                v.                             *
                                               * (Lewd, Indecent, or Obscene Act,
MICHAEL HAAK,                                  * 49 U.S.C. § 46506(2), D.C. Code Section
                                               * 22-1312)
                Defendant.                     *
                                               *
                                            *******
                                        INFORMATION

       The United States Attorney for the District of Maryland charges that:

       On or about August 10, 2020, on an aircraft in the special aircraft jurisdiction of the United

States, namely Southwest Airlines Flight WN 6607, of which he was the pilot in command, the

defendant,

                                       MICHAEL HAAK,

intentionally committed an act of lewd, indecent and obscene exposure of his genitals in a public

place, which if committed in the District of Columbia would violate D.C. Code Section 22-1312

(formerly D.C. Code Section 22-1112). The acts began, continued and were completed while the

aircraft was in flight from Philadelphia International Airport to Orlando International Airport,

during which it overflew parts of the District of Maryland and other federal districts.

49 U.S.C. § 46506(2) and D.C. Code Section 22-1312.



                                                                                              /         /
April 2, 2021                                         ____________________________
Date                                                  Jonathan F. Lenzner
                                                      Acting United States Attorney
